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                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF DELAWARE

ARBOR GLOBAL STRATEGIES, LLC.,

                          Plaintiff
                                                   C.A. No. 19-cv-01986-MN
            v.

XILINX, INC.,

                         Defendant.


          XILINX INC.’S MOTION TO RECONSIDER 12(b)(6) ORDER
  OR IN THE ALTERNATIVE FOR CASE-DISPOSITIVE CLAIM CONSTRUCTION


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Dated: August 21, 2020                ATTORNEYS FOR DEFENDANT
                                      XILINX, INC.
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        Defendant Xilinx respectfully asks the Court to reconsider its decision on Xilinx’s motion

to dismiss under FRCP 12(b)(6) in view of a recent filing by Plaintiff AGS that contradicts the

arguments by AGS on which the Court relied in rendering its decision on Xilinx’s motion.

        In particular, the Court on August 12th denied Xilinx’s motion because the motion “appears

to be based on a disputed claim construction.” D.I. 39 at 2. The Court presumably ruled in this

manner because Plaintiff AGS represented to the Court in its opposition that a decision was

“premature” because there was “a disputed claim construction issue.” D.I. 15 at 14-15, 18.

However, on August 18th, in a case pending in EDTX on three of the same patents in this case,

Plaintiff asserted that the term “stacked” is entitled to its “plain and ordinary meaning.” See Decl.

of Mabey, Ex. 1 at 20 (Joint Claim Construction and Prehearing Statement, Arbor Global

Strategies. v. Samsung, 2:19-cv-00333-JRG-RSP, Dkt. 58). Plaintiff cannot argue for a different

construction in this case given that the same patents are at issue in this case.1

        Accordingly, it appears that although Plaintiff argued to this Court that there was a claim

construction dispute with regard to the term “stacked,” there is simply not one for the purposes of

considering a motion to dismiss. Plaintiff is not proposing a different construction for “stacked.”

This Court can and should accept Plaintiff’s “plain and ordinary meaning” for the purpose of

Xilinx’s motion; 2 AGS’s allegation of “side-by-side” structures are not “stacked” under the plain

and ordinary meaning of that term. As noted in Xilinx’s motion, AGS never even alleges that

FPGAs are stacked with memories or processors as the claims require. The claims require those

particular pieces be stacked and the only allegations with regard to the actual pieces that need to


1
 All four patents-in-suit are in the same family. One patent in this case is not asserted by Plaintiff
in its EDTX case, but shares the same specification as a patent-in-suit, so Plaintiff cannot
reasonably assert that the term “stacked” has a different meaning in this related fourth patent.
2
 For the purposes of this motion, Xilinx is accepting AGS’s construction, as there can be no
infringement under the plain meaning of the term “stacked.”

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be stacked is that they are side-by-side. D.I. 1 at ¶¶ 38, 41, 58, 74, 76, 93 (“Xilinx uses a silicon

manufacturing process on which multiple die are set side-by-side and interconnected.”). At no

point in its opposition does AGS point to any accusation in the complaint that FPGAs are stacked

with memories or processors – undoubtedly because they simply are not in the Accused Products.

Accordingly, as AGS’s new filing in EDTX makes it clear that AGS is proposing no special

construction of the term “stacked,” Xilinx respectfully moves for reconsideration.

      In the alternative, to the extent that the Court still finds there to be an issue because this

Court has not issued a claim construction order, Xilinx requests that the Court order an expedited

claim construction process for this term. This can be done efficiently: Xilinx would propose

three page claim construction briefs spaced one week apart beginning as soon as the Court can

issue the order. The configuration of the accused products is a simple fact, and it is a waste of

both public and private resources to proceed with this case where the products do not have—and

were not alleged to have—the required stacking of FPGAs with memories or processors.

      Accordingly, for the reasons set forth above and in Xilinx’s original motion to dismiss

under 12(b)(6), Xilinx respectfully requests that the Court reconsider its denial of Xilinx’s motion

and grant dismissal. Alternatively, Xilinx requests that the Court institute an expedited claim

construction schedule for the term “stacked,” so this case-dispositive term can be construed and

the case proceed to a motion for judgment on the pleadings.




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Dated: August 21, 2020       FISH & RICHARDSON P.C.

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                               RULE 7.1.1. CERTIFICATION

       The undersigned counsel for Defendant Xilinx Inc. certifies that counsel for Xilinx Inc.

orally communicated with Delaware counsel for Plaintiff Arbor Global Strategies, LLC

concerning this Motion to Reconsider 12(b)(6) Order or in the Alternative For Case-Dispositive

Claim Construction, and counsel for Plaintiff Arbor Global Strategies, LLC indicated that Arbor

Global Strategies, LLC would oppose this Motion.



Dated: August 21, 2020                              /s/ Warren K. Mabey, Jr.
                                                     Warren K. Mabey, Jr. (#5775)




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